

Echevarria v Bernstein (2021 NY Slip Op 07079)





Echevarria v Bernstein


2021 NY Slip Op 07079


Decided on December 21, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 21, 2021

Before: Kapnick, J.P., Friedman, González, Rodriguez, Pitt, JJ. 


Index No. 24045/13E Appeal No. 14871-14871A Case No. 2021-01399, 2021-01403 

[*1]Pedro Echevarria, as Administrator of the Estate of Jeremy Echevarria, Deceased, Plaintiff-Appellant,
vLarry Bernstein, M.D., et al., Defendants-Respondents.


Krentsel Guzman Herbert, LLP, New York (Marcia K. Raicus of counsel), for appellant.
Kaufman Borgeest &amp; Ryan LLP, Valhalla (David Bloom of counsel), for respondents.



Judgment, Supreme Court, Bronx County (John R. Higgitt, J.), entered on or about March 16, 2021, dismissing the complaint as against defendants Larry Bernstein, M.D., Montefiore Medical Center, Family Immunology Center and Division of Allergy and Clinical Immunology, unanimously affirmed, without costs. Appeal from order, same court and Justice, entered on or about December 18, 2020, which granted defendants' motion for summary judgment, unanimously dismissed, without costs, as subsumed in the appeal from the judgment.
In opposition to defendants' prima facie showing that they did not depart from the applicable standard of medical care in treating the decedent, plaintiff failed to raise an issue of fact (see Edmund v Albert Einstein Hosp., 118 AD3d 578, 579 [1st Dept 2014], lv denied 27 NY3d 910 [2016]). His expert presented no nonspeculative basis for a finding that any act or omission of defendants proximately caused the decedent's injury and death (see Melendez v Parkchester Med. Servs., P.C., 76 AD3d 927 [1st Dept 2010]; DeFilippo v New York Downtown Hosp., 10 AD3d 521, 523 [1st Dept 2004]). The expert's opinions were based on factual assumptions unsupported by the record. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 21, 2021








